Dear Commissioner Leavitt,
The Attorney General has considered your request for an opinion wherein you ask the following questions:
1. If an employee of the Department of Health is injured in anautomobile accident while in performance of official duties, placed ontemporary total disability and given compensation by the Worker'sCompensation Court and placed on sick leave without pay after accruedleave has been exhausted, may the Department continue to pay Health andLife premiums for such an employee?
 2. If the answer to question (1) is affirmative, how long may theDepartment continue to make such payments?
The answer to your first question can be made by reference to 74 O.S. 1303(b) (1977), which sets out the definition of "employee" for the purposes of the State Employees Group Health and Life Insurance Act, 74 O.S. 1301[74-1301] et seq. (1971). The legislature specifically provided in the 1977 amendment to 74 O.S. 1303:
  "Provided, however, that employees who are otherwise eligible who are on approved sick leave without pay shall be eligible to continue coverage during such leave not to exceed twelve (12) months from the date the employee goes on such leave provided the employee pays the full premiums due."
The statutory language is specific in its command that an employee on sick leave without pay status shall be eligible to continue coverage provided that he pay the full premiums due. The Department of Health may not, therefore, continue the coverage of an employee on sick leave without pay by paying the premiums due; these must be paid by the employee. Further, such continuation of the policy may only extend for a twelve (12) month period.
As the answer to your first question is in the negative, it is unnecessary to reach the second question.
It is, therefore, the opinion of the Attorney General that theDepartment of Health cannot pay the State Health and Life Insurancepremiums for an employee on sick leave without pay status as 74 O.S.1303(b) (1977) requires such premiums to be paid by the employee.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHN GREGORY THOMAS, ASSISTANT ATTORNEY GENERAL